Case 1:13-cv-00789-TWP-DML Document 14 Filed 07/03/13 Page 1 of 2 PageID #: 58



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


SHARON SCHOENUNG,                          )
                                           )
             Plaintiff,                    )
                                           )
             v.                            )       No. 1:13-cv-789 TWP-DML
                                           )
INDIANA BUREAU OF MOTOR                    )
VEHICLES;                                  )
COMMISSIONER, Indiana Bureau of            )
Motor Vehicles, in his official capacity;  )
JOHN DOES, in their individual capacities, )
                                           )
             Defendants.                   )

                                Notice of Voluntary Dismissal

       Plaintiff, by her counsel, files this notice of voluntary dismissal pursuant to Rule

41(a)(1)(A)(i).

       WHEREFORE, plaintiff files her notice of voluntary dismissal.



                                                   /s/Kenneth J. Falk
                                                   Kenneth J. Falk
                                                   No. 6777-49
                                                   ACLU of Indiana
                                                   1031 E. Washington St.
                                                   Indianapolis, IN 46202
                                                   317/635-4059 ext. 104
                                                   fax: 317/635-4105
                                                   kfalk@aclu-in.org

                                                   Attorney for Plaintiff

                                    Certificate of Service

        I hereby certify that on this 3d day of July, 2013, a copy of the foregoing was filed
electronically with the Clerk of this Court. Notice of this filing will be sent to the following



                                                                                        Page | 1
Case 1:13-cv-00789-TWP-DML Document 14 Filed 07/03/13 Page 2 of 2 PageID #: 59



parties by operation of the Court's electronic filing system and the parties may access this filing
through the Court's system.

Laura Bowker
Deputy Attorney General
Laura.bowker@atg.in.gov

Rebecca A. Brelage
Deputy Attorney General
Rebecca.brelage@atg.in.gov


                                                            /s/Kenneth J. Falk
                                                            Kenneth J. Falk
                                                            Attorney at Law




                                                                                          Page | 2
